Case 1:23-cv-00142-BLW Document 116-1 Filed 05/03/23 Page 1 of 4
     Case 1:23-cv-00142-BLW Document 116-1 Filed 05/03/23 Page 2 of 4




DECLARATON OF LOUIS MARSHALL – 2
 Case 1:23-cv-00142-BLW Document 116-1 Filed 05/03/23 Page 3 of 4




DECLARATON OF LOUIS MARSHALL – 3
      Case 1:23-cv-00142-BLW Document 116-1 Filed 05/03/23 Page 4 of 4




                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 3, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to the following persons:

Colleen R. Smith                          Peter G. Neiman*
csmith@stris.com                          peter.neiman@wilmerhale.com

Jennifer R. Sandman*                      Alan E. Schoenfeld*
jennifer.sandman@ppfa.org                 alan.schoenfeld@wilmerhale.com

Catherine Peyton Humphreville*            Michelle Nicole Diamond*
catherine.humphreville@ppfa.org           michelle.diamond@wilmerhale.com

Michael J. Bartlett                       Rachel E. Craft*
michael@bartlettfrench.com                rachel.craft@wilmerhale.com

Dina Flores-Brewer                        Katherine V. Mackey*
dfloresbrewer@acluidaho.org               katherine.mackey@wilmerhale.com

Andrew Beck*
abeck@aclu.org

Meagan Burrows*
mburrows@aclu.org

Ryan Mendías*
rmendias@aclu.org

Scarlet Kim*
scarletk@aclu.org

                                          *Pro hac vice




                                         /s/ Lincoln Davis Wilson
                                       LINCOLN DAVIS WILSON
                                       Deputy Attorney General




    DECLARATON OF LOUIS MARSHALL – 4
